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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

   UNITED STATES, et al.,

                          Plaintiffs,

          vs.                                                No: 1:23-cv-00108-LMB-JFA

   GOOGLE LLC,

                          Defendant.


                   JOINT MOTION TO COMPLETE FACT DEPOSITIONS
                      AFTER THE CUT-OFF OF FACT DISCOVERY

         PURSUANT TO Rule 16(b)(4) of the Federal Rules of Civil Procedure and Local Civil

 Rule 16(B), Plaintiffs and Defendant jointly move to modify the scheduling order (Docket

 no. 1428) regarding the completion of the seven fact depositions listed below. The grounds for

 granting this relief are as follows:

         1.      The court rules provide that a scheduling order “may be modified only for good

 cause and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4); accord E.D. Va. Civ. R. 16(B)

 (“good cause” required to modify schedule). Generally, a showing of “good cause” to modify the

 scheduling order requires showing “that the deadlines cannot reasonably be met despite the party’s

 diligence.’” Cook v. Howard, 484 Fed. Appx. 805, 815 (4th Cir. 2012) (unpublished per curiam)

 (citations omitted); accord Fed. R. Civ. P. 16, 1983 Adv. Comm. Notes (the movant must show

 that the current deadlines “cannot reasonably be met despite the diligence of the party seeking” the

 modification). Moreover, the Court must consider, inter alia, “the length of delay and its potential

 impact on judicial proceedings.” Roe v. Howard, No. 1:16-cv-562, 2017 U.S. Dist. LEXIS




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 187258, *1-2 (E.D. Va. June 30, 2017). The parties submit that good cause exists to extend the

 fact discovery cut-off to allow completion of the seven depositions now at issue.

        2.       The parties have identified these seven individuals as having potential testimony

 that may be used at the remedies trial. The parties diligently attempted to take these depositions

 before the fact discovery cut-off, June 30, 2025. For reasons outside the control of the parties,

 these deponents are not reasonably available to sit for their depositions before June 30.

        3.       The parties have met and conferred with these deponents and each other to obtain

 mutually available dates for these depositions, which are shown in the chart below:

                          Deponent                                     Date

             Scott Sheffer (Google)                    July 1, 2025

             Stephanie Layser (third-party)            July 1, 2025

             Andrew Casale (third-party)               July 2, 2025

             Noam Wolf (Google)                        July 18, 2025

             Jeff Green (third-party)                  July 25, 2025

             Michael Racic (third-party)               July 28, 2025

             Rajeev Goel (third-party)                 August 19, 2025

        4.       The completion of these depositions after the fact discovery cut-off will not

 interfere with expert discovery, disrupt the remainder of the schedule, or delay the remedies trial. 1




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   The parties have further agreed that, on or before July 21, each side may add up to three
 additional fact witnesses to their preliminary fact witness lists, and that each side would be
 permitted to depose up to three of these additional fact witnesses added to the parties’ lists. If
 these depositions are needed, the parties anticipate moving the court for leave to take them. The
 completion of those depositions will not interfere with expert discovery, disrupt the remainder of
 the schedule, or delay the remedies trial.


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        WHEREFORE, the parties respectfully request that the Court grant this relief. A proposed

 order is submitted herewith.

                                WAVIER OF ORAL ARGUMENT:

                       The parties waive oral argument on this procedural motion.




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                           JOINTLY SUBMITTED this 18th day of June 2025:


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